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                              UNITED STATES OF AMERICA
                            UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )
            Plaintiff,              )                 Case No. 1:06-cr-00029
                                    )
v.                                  )                 Honorable Robert Holmes Bell
                                    )
WILLIAM EVERETT-JAMAR MOORE, )
                                    )
            Defendant.              )
____________________________________)


                            REPORT AND RECOMMENDATION

               Pursuant to W.D. MICH. L.CR.R. 11.1, I conducted a plea hearing in the captioned

case on May 5, 2006, after receiving the written consent of defendant and all counsel. At the

hearing, defendant William Everett-Jamar Moore entered a plea of guilty to Counts One and Six of

the Indictment in exchange for the undertakings made by the government in the written plea

agreement. Count One charges the defendant with conspiring to commit criminal copyright

infringement in violation of 17 U.S.C. § 506(a)(1)(B) and 18 U.S.C. §§ 471 and 2319(a). Count Six

provides for the forfeiture of personal property used to facilitate federal offenses, pursuant to 17

U.S.C. § 506(b) and 18 U.S.C. § 981. On the basis of the record made at the hearing, I find that

defendant is fully capable and competent to enter an informed plea; that the plea is made knowingly

and with full understanding of each of the rights waived by defendant; that it is made voluntarily and

free from any force, threats, or promises, apart from the promises in the plea agreement; that the
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defendant understands the nature of the charge and penalties provided by law; and that the plea has

a sufficient basis in fact.

                I therefore recommend that defendant's plea of guilty to Counts One and Six of the

Indictment be accepted, that the court adjudicate defendant guilty, and that the written plea

agreement be considered for acceptance at the time of sentencing. Acceptance of the plea,

adjudication of guilt, acceptance of the plea agreement, and imposition of sentence are specifically

reserved for the district judge. The clerk is directed to procure a transcript of the plea hearing for

review by the District Judge.



Date: May 9, 2006                                       /s/ Ellen S. Carmody
                                                       ELLEN S. CARMODY
                                                       United States Magistrate Judge



                                     NOTICE TO PARTIES

                You have the right to de novo review of the foregoing findings by the district judge.
Any application for review must be in writing, must specify the portions of the findings or proceed-
ings objected to, and must be filed and served no later than ten days after the plea hearing. See W.D.
MICH. L.CR.R. 11.1(d).




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